        Case 1:23-cr-00427-DLF    Document 108     Filed 02/25/25   Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                  Case No. 23-CR-427
DANIEL EDWIN WILSON,

    Defendant.


    UNITED STATES’ RESPONSE TO COURT’S FEBRUARY 24, 2025
     ORDER REGARDING DEFENDANT’S MOTION FOR RELIEF
                PURSUANT TO 28 U.S.C. § 2255

        The United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, respectfully submits this motion in response

to the Court’s Minute Order dated February 24, 2025.

        As set forth in the Defendant’s Emergency Motion (ECF No. 107), the

defendant was released on January 21, 2025, following the issuance of the

Executive Order dated January 20, 2025, Granting Pardons and Commutation of

Sentences for Certain Offenses Relating to the Events at Or Near the United States

Capitol on January 6, 2021 (“Presidential Pardon”). When the Bureau of Prisons

ordered the defendant to return to custody, his attorney filed a motion to stay, to

which the government did not object. The Court then ordered the government to

file a response by February 6, 2025, as to whether the Presidential Pardon covered

the defendant’s firearm convictions, which had been transferred to the District of
      Case 1:23-cr-00427-DLF     Document 108     Filed 02/25/25   Page 2 of 4




Columbia through Rule 20 as part of the plea agreement, in addition to the

conviction regarding the defendant’s conduct on January 6, 2021.

      In its filing dated February 6, 2025, the government indicated that the

language of the pardon did not cover the firearm convictions, 18 U.S.C. §§ 922(g)

& 924(a)(2) (possession of a firearm by a prohibited person) and 18 U.S.C. §§

5841, 5861(d), and 5871 (possession of an unregistered firearm). (ECF No. 103).

The basis of these convictions were firearms recovered pursuant to a search

warrant executed at the defendant’s residence in Kentucky, based on his conduct

on January 6, 2021, at the United States Capitol. In the intervening period since the

government filed its response, the government has received further clarity on the

intent of the Presidential Pardon. Under these circumstances, the Presidential

Pardon includes a pardon for the firearm convictions to which the defendant pled,

similar to other defendants in which the government has made comparable

motions.

      For example, the government recently moved to dismiss an indictment

pending in the Middle District of Florida, where the defendant had been charged

with felony possession of a firearm, for a firearm obtained during a search warrant

related to the investigation of the defendant’s conduct on January 6, 2021. United

States v. Ball, 5:24-CR-97, ECF 41 (Middle District of Florida, filed February 20,

2025). Similarly, the government filed a Notice of Filing of Certificate of Pardon

                                         2
      Case 1:23-cr-00427-DLF     Document 108      Filed 02/25/25   Page 3 of 4




in United States v. Jeremy Brown, to clarify that “[b]ased on consultation with

Department leadership, it is the position of the United States that the offenses in

this case are intended to be covered by this Pardon.” United States v. Jeremy

Brown, 8:21-CR-00348, ECF 372 (Middle District of Florida, filed February 25,

2025). In that case, the defendant had been convicted in the Middle District of

Florida for possession of firearms and other weapons at a jury trial in December

2022; contraband which had been located at his residence pursuant to a search

warrant related to his actions on January 6, 2021. In addition, the government

recently concurred in the dismissal of an appeal in the Fourth Circuit, in the case of

a defendant who was convicted of offenses related to January 6, 2021, and

possession of contraband which was located pursuant to a search warrant executed

at his residence for evidence related to his January 6, 2021 conduct. In that matter,

the U.S. Attorney for the District of Maryland noted that “[a]fter consulting with

the Department of Justice’s leadership, the United States has concluded that the

President pardoned Mr. Costianes of the offenses in the indictment. This

determination by the Executive is ‘conclusive and persuasive.’ Trump [v. United

States], 603 U.S. [593], 608 (2024).” United States v. Costianes, USCA4 Appeal

24-4543, Doc 20-1 (filed February 19, 2025). As noted by the Supreme Court, a

“pardon is an act of grace by which an offender is released from the consequences

of his offense.” Knote v. United States, 95 U.S. 149, 153 (1877).

                                          3
      Case 1:23-cr-00427-DLF    Document 108    Filed 02/25/25   Page 4 of 4




      For the reasons set forth above, the government does not oppose the

defendant’s motion for relief. It is the position of the United States that the

offenses of conviction in this case are intended to be covered by the Presidential

Pardon.


                                            Respectfully submitted,

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                                            ____________/S/_______
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